               Case 22-11068-JTD            Doc 1795-1        Filed 06/28/23        Page 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Hearing Date: July 19, 2023 at 1:00 p.m. (ET)
                                                             Objection Deadline: July 12, 2023 at 4:00 p.m. (ET)



                                          NOTICE OF MOTION

TO:      (a) the U.S. Trustee; (b) counsel to the Committee; (c) the Securities and Exchange
         Commission; (d) the Internal Revenue Service; (e) the United States Department of
         Justice; (f) the United States Attorney for the District of Delaware; (g) counsel to Pateno
         and Bitvo; and (h) to the extent not listed herein, those parties requesting notice pursuant
         to Bankruptcy Rule 2002.

        On June 28, 2023, FTX Trading Ltd. and its affiliated debtors and debtors-in-possession
(the “Debtors”) filed the Motion of Debtors for Entry of an Order (A) Authorizing FTX Canada
Inc. to Enter into Settlement Agreement with Pateno Payments Inc. and Bitvo Inc., (B) Approving
the Settlement Agreement, and (C) Granting Related Relief (the “Motion”).

       Objections, if any, to the relief requested in the Motion must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before July 12, 2023 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on July 12, 2023.

      A HEARING ON THE MOTION WILL BE HELD ON JULY 19, 2023 AT 1:00 P.M.
(ET) BEFORE THE HONORABLE JOHN T. DORSEY, UNITED STATES BANKRUPTCY
COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
OF DELAWARE, 824 NORTH MARKET STREET, 5th FLOOR, COURTROOM NO. 5,
WILMINGTON, DELAWARE 19801.




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

{1368.002-W0071348.}
               Case 22-11068-JTD   Doc 1795-1   Filed 06/28/23   Page 2 of 2



     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: June 28, 2023                       LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                           /s/ Matthew B. McGuire
                                           Adam G. Landis (No. 3407)
                                           Matthew B. McGuire (No. 4366)
                                           Kimberly A. Brown (No. 5138)
                                           Matthew R. Pierce (No. 5946)
                                           919 Market Street, Suite 1800
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 467-4400
                                           Facsimile: (302) 467-4450
                                           E-mail: landis@lrclaw.com
                                                   mcguire@lrclaw.com
                                                   brown@lrclaw.com
                                                   pierce@lrclaw.com

                                           -and-

                                           SULLIVAN & CROMWELL LLP
                                           Andrew G. Dietderich (admitted pro hac vice)
                                           James L. Bromley (admitted pro hac vice)
                                           Brian D. Glueckstein (admitted pro hac vice)
                                           Alexa J. Kranzley (admitted pro hac vice)
                                           125 Broad Street
                                           New York, NY 10004
                                           Telephone: (212) 558-4000
                                           Facsimile: (212) 558-3588
                                           E-mail: dietdericha@sullcrom.com
                                                   bromleyj@sullcrom.com
                                                   gluecksteinb@sullcrom.com
                                                   kranzleya@sullcrom.com
                                           Counsel for the Debtors and Debtors-in-Possession




{1368.002-W0071348.}
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